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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                )
In re:                          ) Chapter 11
                                )
CELSIUS NETWORK LLC, et a1. 1   ) Case No. 22-10964 (MG)
                                )
                                ) (Jointly Administered)
           Debtors.             )
                                )

                   MOTION FOR ADMISSION TO PRACTICE, Pro Hac Vice
        I, Julie F. Montgomery, request admission, pro hac vice, before the Honorable Martin

Glenn to represent SAP America, Inc. and SAP National Security Services, Inc. (collectively

“SAP”), creditors in the above-referenced matters.

        I certify that I am a member in good standing of the bars of the State of New Jersey and

the Commonwealth of Pennsylvania and have been admitted to practice in the United States

District Courts for the District of New Jersey and the Eastern District of Pennsylvania.

        I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

                                                              BROWN & CONNERY, LLP


Dated: August 12, 2022                                        /s/ Julie F. Montgomery         .
                                                              Julie F. Montgomery
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                                                              Attorneys for SAP America, Inc. and SAP
                                                              National Security Services, Inc.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC's principal place
of business and the Debtors' service address in these chapter 11 cases is 121 River Street, PH05, Hoboken, New
Jersey 07030.
